Case 1:20-cv-03010-APM   Document 1141-4   Filed 01/16/25   Page 1 of 9




              EXHIBIT D
                                                Case 1:20-cv-03010-APM           Document 1141-4         Filed 01/16/25     Page 2 of 9




                                                                    Appendix: Proposed Microsoft Search Strings

    Request No.   Text of Request                                                                  Proposed String
    First         All documents and other communications between Microsoft and any third           ((agreement OR agreements OR contract OR contracts OR partner OR partnership
    Subpoena,     party proposing, discussing, or relating to the promotion, preinstallation,      OR redline OR negotiate OR negotiates OR negotiated OR negotiating OR
    Request No.   syndication, or other distribution of any search engine, search advertising      negotiation OR negotiations OR analyze OR analyzes OR analyzed OR analyzing
    1             service, browser, Generative AI Tool or AI Search Tool. Documents                OR analysis OR analyses OR “joint venture” OR JV OR relationship OR
                  within the scope of this request include, but are not limited to, negotiations   relationships OR collaborate OR collaborates OR collaborated OR collaboration
                  over agreements as well as final executed agreements that Microsoft has          OR collaborations) w/12 ((exclusive OR exclusivity OR DSE OR default OR pre-
                  entered into with any third party since May 6, 2022 with respect to the          install OR pre-installs OR pre-installing OR pre-installation OR preinstall OR
                  promotion, preinstallation, syndication, or other distribution of any search     preinstalls OR preinstalling OR preinstallation OR pre-set OR pre-sets OR pre-
                  engine, search advertising service, browser, Generative AI Tool, or AI           setting OR preset OR presets OR presetting OR place OR places OR placed OR
                  Search Tool. This request seeks all responsive, non-privileged documents         placing OR placement OR promote OR promotes OR promoted OR promoting OR
                  in Microsoft’s possession, custody, or control created, altered, transmitted,    promotion OR distribute OR distributes OR distributed OR distributing OR
                  or received at any time from May 6, 2022, to present.                            distribution OR OR preload OR preloads OR preloaded OR preloading OR pre-
                                                                                                   load OR pre-loads OR pre-loaded OR pre-loading or syndicate OR syndication OR
                                                                                                   “revenue share” OR “rev share” OR revshare) w/8 (Bing OR Edge OR “Microsoft
                                                                                                   Advertising” OR Copilot OR “Bing Chat” OR BingChat OR Prometheus OR
                                                                                                   Sydney OR Marble OR Gemini OR GPT OR ChatGPT OR SearchGPT OR
                                                                                                   “ChatGPT Search” OR OpenAI OR Perplexity OR “You.com”))) OR (“Bing
                                                                                                   services master agreement” OR “search distribution agreement” OR “search
                                                                                                   services agreement” OR “search settings agreement” OR “advertising services
                                                                                                   agreement” OR “Copilot distribution agreement” OR “Copilot services agreement”
                                                                                                   OR ((“AI” OR “artificial intelligence”) w/5 (services OR distribution))) OR ((Bing
                                                                                                   OR Edge OR “Microsoft Advertising” OR Copilot OR “Bing Chat” OR BingChat
                                                                                                   OR Prometheus OR Gemini OR GPT OR ChatGPT OR SearchGPT OR “ChatGPT
                                                                                                   Search” OR Perplexity OR “You.com”) AND (((“One Microsoft Way” OR 98052)
                                                                                                   AND (termination! OR definition! OR “witness whereof”)) OR (A2N OR
                                                                                                   “approval to negotiate” OR FGNG OR “Final Go No Go”)) 1


1
  The proposed search strings for Request Nos. 1 and 2 of Google’s First Subpoena are subject to Microsoft’s agreement to supplement with internal code names based on the
results of their investigation into the same.

                                                                                             1
                                             Case 1:20-cv-03010-APM            Document 1141-4        Filed 01/16/25     Page 3 of 9




Request No.    Text of Request                                                                  Proposed String
First          All analyses of any potential partnership, collaboration, agreement, or          ((agreement OR agreements OR contract OR contracts OR partner OR partnership
Subpoena,      transaction between Microsoft and any third party regarding the promotion,       OR redline OR A2N OR “approval to negotiate” OR FGNG OR “Final Go No Go”
Request No.    preinstallation, syndication, or other distribution of any search engine,        OR negotiate OR negotiates OR negotiated OR negotiating OR negotiation OR
2              search advertising service, browser, Generative AI Tool or AI Search Tool.       negotiations OR analyze OR analyzes OR analyzed OR analyzing OR analysis OR
               Documents within the scope of this request include, but are not limited to,      analyses OR “joint venture” OR JV OR relationship OR relationships OR
               A2N and FGNG documents relating to Bing promotion, preinstallation,              collaborate OR collaborates OR collaborated OR collaboration OR collaborations)
               syndication, or other distribution. This request seeks all responsive, non-      w/20 (browser OR browsers OR assistant OR Apple OR Siri OR Spotlight OR
               privileged documents in Microsoft’s possession, custody, or control              Safari OR Google OR Yahoo OR “Y!” OR Oath OR DuckDuckGo OR DDG OR
               created, altered, transmitted, or received at any time from May 6, 2022, to      “Duck Go” OR Ecosia OR Chrome OR Facebook OR Meta OR Amazon OR
               present.                                                                         AMZN OR Alexa OR Silk OR Verizon OR Brave OR Mozilla OR Firefox OR
                                                                                                Opera OR SeaMonkey OR “Pale Moon” OR Bixby OR Cerence OR search OR
                                                                                                Bing OR “Microsoft Advertising” OR Edge OR Copilot OR “Bing Chat” OR
                                                                                                BingChat OR Prometheus OR Sydney OR Marble Gemini OR GPT OR ChatGPT
                                                                                                OR SearchGPT OR “ChatGPT Search” OR OpenAI OR Perplexity OR “You.com”
                                                                                                OR “HMD” or “Honor” or “Huawei” or “Motorola” or “OPPO” or “Samsung” or
                                                                                                “Xiaomi” or “Vivo” or “TCL” or “AT&T” OR ATT or “T-Mobile” or “KDDI” or
                                                                                                “Orange” or “Vodafone” or “Telefonica” or “DOCOMO”) w/20 (exclusive OR
                                                                                                exclusivity OR DSE OR default OR defaults OR pre-install OR pre-installed OR
                                                                                                pre-installs OR pre-installing OR pre-installation OR preinstall OR preinstalled OR
                                                                                                preinstalls OR preinstalling OR preinstallation OR pre-set OR pre-sets OR pre-
                                                                                                setting OR preset OR presets OR presetting OR place OR places OR placed OR
                                                                                                placing OR placement OR promote OR promotes OR promoted OR promoting OR
                                                                                                promotion OR distribute OR distributes OR distributed OR distributing OR
                                                                                                distribution OR preload OR preloads OR preloaded OR preloading OR pre-load
                                                                                                OR pre-loads OR pre-loaded OR pre-loading or syndicate OR syndication OR
                                                                                                “revenue share” OR “rev share” OR revshare)
First          All communications between Microsoft and any third party discussing or           (Google AND ((DOJ OR DOJ’S OR “the government OR “the government’s” OR
Subpoena,      relating to this litigation. This request seeks all responsive, non-privileged   “attorney general” OR “attorneys general” OR “attorney generals” OR
Request Nos.   documents in Microsoft’s possession, custody, or control created, altered,       “Department of Justice” or “Dept of Justice” OR “states” OR “Colorado” OR
4              transmitted, or received at any time from May 6, 2022, to present.               “CONE” OR antitrust) W/2 (lawsuit OR suit OR litigation OR “case against”)))

                                                                                                OR
                                            Case 1:20-cv-03010-APM           Document 1141-4        Filed 01/16/25     Page 4 of 9




Request No.   Text of Request                                                                 Proposed String

                                                                                              (Mehta AND Google)

                                                                                              OR

                                                                                              (“20-cv-3010” OR “20-cv-03010” OR “20cv3010” OR “20cv03010” OR “20-cv-
                                                                                              3715” OR “20-cv-03715” OR “20cv3715” OR “20cv03715”)

                                                                                              OR

                                                                                              ((duckduckgo OR “duck duck go” OR DDG) AND (blog OR blogpost) AND
                                                                                              (google OR antitrust OR (competition W/3 search)))
First         To the extent not produced in response to Request No. 4, all                    [Same as above]
Subpoena,     communications between Microsoft and DuckDuckGo regarding the
Request No.   remedy proposed in the September 12, 2024 blog post entitled “Creating
5             Enduring Competition in the Search Market,” available at
              https://spreadprivacy.com/creating-enduring-competition-in-the-search-
              market.
First         Documents sufficient to show any analysis of the potential of generative        (analyze OR analyzes OR analyzed OR analyzing OR analysis OR analyses OR
Subpoena,     artificial intelligence to affect general search with respect to quality or     assess OR assesses OR assessing OR assessed OR assessment OR assessments OR
Request No.   usage. This request seeks all responsive, non-privileged documents in           evaluate OR evaluated OR evaluates OR evaluating OR evaluation OR evaluations
38            Microsoft’s possession, custody, or control created, altered, transmitted, or   OR research OR researched OR researches OR researching OR study OR studies
              received at any time from May 6, 2022, to present.                              OR studied OR studying OR studies) w/15 ((“generative artificial intelligence” OR
                                                                                              GenAI OR “gen AI” OR “Generative AI” OR Copilot OR “Bing Chat” OR Sydney
                                                                                              OR Argos OR Triton OR BingChat OR Prometheus OR ChatGPT OR SearchGPT
                                                                                              OR “ChatGPT Search” OR GPT OR GPT-3 OR GPT-4 OR GPT-4o OR 4o OR o1
                                                                                              OR o3 OR GPT3 OR GPT4 OR GPT4o OR OpenAI OR Perplexity OR Gemini
                                                                                              OR Bard) w/10 (((search OR Bing) W/3 (quality OR usage OR performance OR
                                                                                              experience OR behavior OR accuracy)) OR “user engagement” OR “user
                                                                                              satisfaction”)) OR ((DCG OR NDCG OR oneDCG OR SBS OR WPSBS) w/15
                                                                                              (“generative artificial intelligence” OR GenAI OR “gen AI” OR “Generative AI”
                                                                                              OR Copilot OR “Bing Chat” OR Sydney OR Argos OR Triton OR BingChat OR
                                           Case 1:20-cv-03010-APM           Document 1141-4         Filed 01/16/25     Page 5 of 9




Request No.   Text of Request                                                                 Proposed String
                                                                                              Prometheus OR ChatGPT OR SearchGPT OR “ChatGPT Search” OR GPT OR
                                                                                              GPT-3 OR GPT-4 OR GPT-4o OR 4o OR o1 OR o3 OR GPT3 OR GPT4 OR
                                                                                              GPT4o OR OpenAI OR Perplexity OR Gemini OR Bard))
Second        To the extent not produced in response to other requests, all documents         For subparts 2(a)-(b): Same search strings as First Subpoena, Request Nos. 1, 2
Subpoena,     relating to the following categories of documents (for which Plaintiffs have
Request No.   requested only documents sufficient to show):                                   For subpart 2(c):
2                     a. The Company’s efforts to distribute generative AI products on
                      Android Devices.                                                        [To be run for Nadella, Scott, Suleyman, Parakhin, Ribas, Majumder]
                      b. The Company’s plans for on-device AI or any potential
                      agreements to                                                           (strategy OR strategies OR strategic OR roadmap OR vision) w/3 OpenAI OR
                      have the Company’s on-device AI preinstalled on Android Devices.        “Open AI” OR OAI OR Altman OR Copilot OR {codename for Copilot} OR
                      c. The Company’s current and future product development efforts         Prometheus OR {codename for Prometheus} OR Gemini OR Bard OR {codename
                      related to (1) the integration of generative AI products and features   for Gemini/Bard} OR Claude OR {code name for Claude} OR Perplexity OR
                      into Bing or (2) generative AI products including plans related to      {codename for Perplexity} OR ChatGPT OR SearchGPT OR GPT OR GPT3 OR
                      the                                                                     GPT-3 OR GPT4 OR GPT-4 OR GPT4.5 OR GPT-4.5 OR GPT5 OR GPT-5 OR
                      introduction, creation, distribution, monetization, and release of      Orion OR ChatGPT OR SearchGPT OR 4o OR o1 OR o3 OR {code name for
                      generative AI agents.                                                   ChatGPT} OR {code name for SearchGPT} OR {code name(s) for OpenAI’s
                                                                                              models} OR {code name for OpenAI browser} “Apple intelligence” OR
                                                                                              {codename for Apple Intelligence} OR Sydney OR “you.com” OR {code name for
                                                                                              You.Com})

                                                                                              OR

                                                                                              ((strategy OR strategies OR strategic OR roadmap OR vision) w/3 (Bing OR Edge
                                                                                              OR {codename for Bing} OR {codename for Edge} OR Apple OR Appl) AND
                                                                                              (“generative AI” OR “artificial intelligence” OR “genAI” OR “gen AI” OR “LLM”
                                                                                              OR “large language model”))

                                                                                              [To be run for Anand, Beard, Cromwell, Majumder, Nadella, Parakhin, Ribas,
                                                                                              Schechter, Scott, Suleyman, Tinter]
                                            Case 1:20-cv-03010-APM           Document 1141-4          Filed 01/16/25     Page 6 of 9




Request No.   Text of Request                                                                  Proposed String
                                                                                               ((agreement OR agreements OR contract OR contracts OR partner OR partnership
                                                                                               OR redline OR negotiate OR negotiates OR negotiated OR negotiating OR
                                                                                               negotiation OR negotiations OR analyze OR analyzes OR analyzed OR analyzing
                                                                                               OR analysis OR analyses OR “joint venture” OR JV OR relationship OR
                                                                                               relationships OR collaborate OR collaborates OR collaborated OR collaboration
                                                                                               OR collaborations) w/12 ((exclusive OR exclusivity OR DSE OR default OR pre-
                                                                                               install OR pre-installs OR pre-installing OR pre-installation OR preinstall OR
                                                                                               preinstalls OR preinstalling OR preinstallation OR pre-set OR pre-sets OR pre-
                                                                                               setting OR preset OR presets OR presetting OR place OR places OR placed OR
                                                                                               placing OR placement OR promote OR promotes OR promoted OR promoting OR
                                                                                               promotion OR distribute OR distributes OR distributed OR distributing OR
                                                                                               distribution OR OR preload OR preloads OR preloaded OR preloading OR pre-
                                                                                               load OR pre-loads OR pre-loaded OR pre-loading or syndicate OR syndication OR
                                                                                               “revenue share” OR “rev share” OR revshare) w/8 (“ai” OR “genai” OR “artificial
                                                                                               intelligence”)))

                                                                                               OR

                                                                                               ((“ai” OR “genai” OR “artificial intelligence”) AND (((“One Microsoft Way” OR
                                                                                               98052) AND (termination OR terminations OR definition OR definitions OR
                                                                                               “witness whereof”)) OR (A2N OR “approval to negotiate” OR FGNG OR “Final
                                                                                               Go No Go”)))

                                                                                               [For the portion of the request relating to “the introduction, creation, distribution,
                                                                                               monetization, and release of generative AI agents”: Same search strings as for First
                                                                                               Subpoena, Request Nos. 1 and 2]
Second        All documents of the following current or former Microsoft employees, as         (investment OR investments OR barrier OR barriers OR moat OR capital OR cloud
Subpoena,     well as the documents of their direct report(s) and immediate supervisor,        OR Azure OR Argos OR Triton OR supercomputer) AND (GPT OR GPT3 OR
Request No.   relating to [a] “Search Access Points, distribution, and barriers to entry and   GPT-3 OR GPT4 OR GPT-4 OR GPT4.5 OR GPT-4.5 OR GPT5 OR GPT-5 OR
4             expansion,” [b] “data sharing,” and [c] “generative AI’s relationship with       Orion OR ChatGPT OR SearchGPT OR 4o OR o1 OR o3 OR {code name for
              Search Access Points,” ECF 1072-2 at 3-4, to the extent not produced in          ChatGPT} OR {code name for SearchGPT} OR {code name(s) for OpenAI’s
              response to other requests:
                                           Case 1:20-cv-03010-APM           Document 1141-4         Filed 01/16/25     Page 7 of 9




Request No.   Text of Request                                                                 Proposed String
                     a. Charlie Beard;                                                        models} OR Prometheus OR {code name for Prometheus} OR Copilot OR {code
                     b. Rob Cromwell;                                                         name for Copilot})
                     c. Michael Schechter;
                     d. Jonathan Tinter;                                                      OR
                     e. Shilpa Anand;
                     f. Mikhail Parakhin; and                                                 (Bing OR data OR datafeed OR “data feed” OR index OR indexing OR ads OR
                     g. Jordi Ribas.                                                          advertising) W/3 (share OR sharing OR shares OR shared OR syndicate OR
              This request seeks all responsive, non-privileged documents in Microsoft’s      syndicates OR syndicated OR syndication OR syndications OR api OR
              possession, custody, or control created, altered, transmitted, or received at   “application programming interface”)
              any time from May 6, 2022, to present.
                                                                                              OR

                                                                                              (Bing OR Bing’s OR Edge OR “search engine” OR GSE OR browser OR {code
                                                                                              name for Bing} OR {code name for Edge} OR {code name for OpenAI browser})
                                                                                              W/10 (GPT OR GPT3 OR GPT-3 OR GPT4 OR GPT-4 OR GPT4.5 OR GPT-4.5
                                                                                              OR GPT5 OR GPT-5 OR Orion OR ChatGPT OR SearchGPT OR 4o OR o1 OR
                                                                                              o3 OR {code name for ChatGPT} OR {code name for SearchGPT} OR {code
                                                                                              name(s) for OpenAI’s models} OR Prometheus OR {code name for Prometheus}
                                                                                              OR Copilot OR {code name for Copilot})

                                                                                            [For the portion of the request relating to “Search Access Points [and] distribution”:
                                                                                            Same search strings as for First Subpoena, Request Nos. 1 and 2.]
Second        All documents of Satya Nadella, Kevin Scott, Mustafa Suleyman, Mikhail (strategy OR strategies OR strategic OR roadmap OR vision) w/3 (OpenAI OR
Subpoena,     Parakhin, Jordi Ribas, and Rangan Majumder relating to Microsoft’s            “Open AI” OR OAI OR Altman OR Copilot OR {codename for Copilot} OR
Request No.   strategy with respect to AI Products, the integration of artificial           Prometheus OR {codename for Prometheus} OR Gemini OR Bard OR {codename
5             intelligence into search-related products, and the OpenAI partnership, to     for Gemini/Bard} OR Claude OR {code name for Claude} OR Perplexity OR
              the extent not produced in response to other requests. This request seeks all {codename for Perplexity} OR ChatGPT OR SearchGPT OR GPT OR GPT3 OR
              responsive, non-privileged documents in Microsoft’s possession, custody,      GPT-3 OR GPT4 OR GPT-4 OR GPT4.5 OR GPT-4.5 OR GPT5 OR GPT-5 OR
              or control created, altered, transmitted, or received at any time from May 6, Orion OR ChatGPT OR SearchGPT OR 4o OR o1 OR o3 OR {code name for
              2022, to present.                                                             ChatGPT} OR {code name for SearchGPT} OR {code name(s) for OpenAI’s
                                                                                            models} OR {code name for OpenAI browser} OR “Apple intelligence” OR
                                           Case 1:20-cv-03010-APM          Document 1141-4        Filed 01/16/25    Page 8 of 9




Request No.   Text of Request                                                               Proposed String
                                                                                            {codename for Apple Intelligence} OR Sydney OR “you.com” OR {code name for
                                                                                            You.Com})

                                                                                            OR

                                                                                            ((strategy OR strategies OR strategic OR roadmap OR vision) w/3 (Bing OR Edge
                                                                                            OR {codename for Bing} OR {codename for Edge} OR Apple OR Appl)) AND
                                                                                            (“generative AI” OR “artificial intelligence” OR “genAI” OR “gen AI” OR “LLM”
                                                                                            OR “large language model”)

                                                                                            OR

                                                                                            ((OpenAI OR “Open AI” OR OAI OR Altman) W/10 (partner OR partnered OR
                                                                                            partnering OR partners OR partnership OR agreement OR collaboration or “joint
                                                                                            development” OR jdca)) or {codename for OpenAI partnership}
Second        All documents relating to the potential or actual acquisition of financial    (OpenAI OR OAI OR “Open AI” OR {codename for OpenAI} or Perplexity OR
Subpoena,     interests in OpenAI or Perplexity. Documents within the scope of this         {codename for Perplexity} OR Srinivas OR Altman) W/25 (acquire OR acquiring
Request No.   request include any communications between or among Microsoft and             OR acquisition OR acquihire OR purchase OR merge OR merger OR buy OR
7             OpenAI or Perplexity regarding regulatory, antitrust, or competition          antitrust OR regulator OR regulators OR DOJ OR FTC OR price OR deal OR
              considerations associated with Microsoft’s potential or actual acquisition    structure)
              of investment interests in OpenAI or Perplexity. See, e.g., Kevin
              McLaughlin, Legal Threats, Google Competition Loom Over Perplexity’s
              “Newbie CEO,” THE INFORMATION (Oct. 25, 2024), available at
              https://www.theinformation.com/articles/legal-threats-google-competition-
              loom-overperplexitys-newbie-ceo. This request seeks all responsive, non-
              privileged documents in Microsoft’s possession, custody, or control
              created, altered, transmitted, or received at any time from May 6, 2022, to
              present.
Second        All analyses, studies, and other documents concerning the value of            (analyze OR analyzes OR analyzed OR analyzing OR analysis OR analyses OR
Subpoena,     personalized features or experiences, including such features using AI        study OR studies OR studied OR studying) W/8 ((personalize OR personalized OR
Request No.   technologies, within a Search Access Point, Search Feature, or in any AI      personalizing OR personalization) w/3 (Bing OR Bing’s OR Edge OR Edge’s OR
15            Products that are potential entrants into the GSE or Search Text Ads          {codename for Bing} OR {codename for Edge} OR Apple OR Appl))
                                            Case 1:20-cv-03010-APM           Document 1141-4        Filed 01/16/25    Page 9 of 9




Request No.   Text of Request                                                                 Proposed String
              markets or reasonably anticipated competitive threats to GSEs. This
              request seeks all responsive, non-privileged documents in Microsoft’s           OR
              possession, custody, or control created, altered, transmitted, or received at
              any time from May 6, 2022, to present.                                          (personalize OR personalized OR personalizing OR personalization) W/8 ((analyze
                                                                                              OR analyzes OR analyzed OR analyzing OR analysis OR analyses OR study OR
                                                                                              studies OR studied OR studying) w/3 (Bing OR Bing’s OR Edge OR Edge’s OR
                                                                                              {codename for Bing} OR {codename for Edge} OR Apple OR Appl))
Second        All analyses of any potential partnership, collaboration, agreement, or         (agreement OR agreements OR contract OR contracts OR partner OR partnership
Subpoena,     transaction, including any agreements, between Microsoft and any third          OR redline OR negotiate OR negotiates OR negotiated OR negotiating OR
Request No.   party related to third-party access to or use of Microsoft’s Search Index (as   negotiation OR negotiations OR analyze OR analyzes OR analyzed OR analyzing
16            defined in the Proposed Final Judgment). Documents within the scope of          OR analysis OR analyses OR “joint venture” OR JV OR relationship OR
              this request include analyses of the Statement of Work between Microsoft        relationships OR collaborate OR collaborates OR collaborated OR collaboration
              and OpenAI produced at Bates No. MSLIT_0000000705.                              OR collaborations) w/12 ((datafeed OR datafeeds OR “data feed” OR “data feeds”
                                                                                              OR index OR indexed OR indexing OR crawled OR “web crawl”) w/8 (Bing OR
                                                                                              (Microsoft w/2 (“search service” OR “search services”))))

                                                                                              OR

                                                                                              (OpenAI OR OAI OR “Open AI” OR {codename for OpenAI}) w/12 (datafeed OR
                                                                                              datafeeds OR “data feed” OR “data feeds” OR index OR indexed OR indexing OR
                                                                                              crawled OR “web crawl”)

                                                                                              OR

                                                                                              Bing W/2 ((ads W/2 API) OR (search W/2 API))
